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                                                                                                    APPEAL




                                   U.S. Bankruptcy Court
                              Western District of Texas (Waco)
                            Adversary Proceeding #: 20−06093−rbk

Assigned to: Bankruptcy Judge Ronald B King                      Date Filed: 08/24/20
Lead BK Case: 18−60526
Lead BK Title: Little River Healthcare Holdings, LLC, et al
Lead BK Chapter: 7
Demand:
 Nature[s] of Suit: 02 Other (e.g. other actions that would have been brought in state court if unrelated to
                         bankruptcy)
                      14 Recovery of money/property − other
                      81 Subordination of claim or interest
                      91 Declaratory judgment



Respondent
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Respondent
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Respondent
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Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
James Studensky                                    represented by Brian Talbot Cumings

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V.

Defendant
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Defendant
−−−−−−−−−−−−−−−−−−−−−−−
United HealthCare of Texas, Inc      represented by Katharine Battaia Clark
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                                                   Andrew G. Jubinsky
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Defendant
−−−−−−−−−−−−−−−−−−−−−−−

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Defendant
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Intervenor
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 Filing Date          #                                      Docket Text

                          380   Order Denying Defendants Motion to Stay Trial Setting (related
                                document(s): 376 United's Motion to Stay Trial Setting Defendants
                                United HealthCare of Texas, Inc, United Healthcare Benefits of Texas,
                                Inc., United Healthcare Community Plan of Texas, L.L.C.,
                                UnitedHealthcare Insurance Company. (related document(s): 356 Order
                                Regarding (related document(s): 341 Motion For Leave to File Third
                                Amended Complaint and To Withdraw And/Or Strike Jury Demand Filed
                                Plaintiff James Studensky. (Order entered on 12/13/2023) (Order entered
 01/02/2024                     on 1/2/2024) (Hardage, Bridget)




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  The relief described hereinbelow is SO ORDERED.

  Signed January 02, 2024.


                                             __________________________________
                                                         Ronald B. King
                                                 United States Bankruptcy Judge




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

  IN RE:                                 §
                                         §
  LITTLE RIVER HEALTHCARE                §        CASE NO. 18-60526-RBK
  HOLDINGS, LLC, ET AL.,                 §
                                         §
                DEBTOR.                  §        CHAPTER 7
  _______________________________________§
                                         §
  JAMES STUDENSKY, CHAPTER 7 TRUSTEE,    §
                                         §
                PLAINTIFF,               §
                                         §
  V.                                     §        ADVERSARY NO. 20-06093-RBK
                                         §
  UNITED HEALTHCARE INSURANCE COMPANY, §
  ET AL.,                                §
                                         §
                DEFENDANTS.              §
  ______________________________________________________________________________




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                 ORDER DENYING DEFENDANTS’ MOTION TO STAY TRIAL SETTING

          The Court considered United’s Motion to Stay Trial Setting (ECF No. 376) (“Motion”),

  filed by UnitedHealthcare Insurance Company (“United”), and finds that there is good cause to

  deny the Motion.

          The United States District Court is the statutory court that has original and exclusive

  jurisdiction of all cases under Title 11 of the United States Code. 28 U.S.C. §1334(a). Pursuant

  to 28 U.S.C. §157, the district court has referred this case and this adversary proceeding to this

  court to resolve its issues, in the event that this court has the power to do so. The only question

  currently pending is whether the live issues in this adversary proceeding entitle United to a trial by

  jury. While the parties have disputed the issue, the Court is of the opinion that the parties are

  entitled only to a bench trial.

          United complains that no findings of fact or conclusions of law were entered by the Court

  in response to the Motion for Leave to File Third Amended Complaint and to Withdraw And/or

  Strike Jury Demand (ECF No. 341). The order is docketed at ECF No. 356. None were required.

  Fed. R. Bankr. P. 7052 incorporates Fed. R. Civ. P. 52 and requires findings of fact and conclusions

  of law by the court in connection with entry of judgment in an adversary proceeding. Fed. R. Civ.

  P. 52(a)(3) provides: "For a Motion. The court is not required to state findings or conclusions

  when ruling on a motion under Rule 12 or 56 or, unless these rules provide otherwise, on any other

  motion."

          The entire track record in this 3 ½ year old adversary proceeding is one of delay. The usual

  time in bankruptcy court from the filing of an adversary proceeding to trial is about one year.

  Numerous dilatory motions have been filed and heard; scheduling orders and amended scheduling

  orders have been entered and repeatedly extended at the behest of the parties; and discovery




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  disputes have been filed on numerous occasions and the Court has patiently handled hearings on

  every single one. The Court has repeatedly admonished the parties that the pretrial discovery and

  preparation phase cannot continue indefinitely and that this Court has a duty to manage its docket

  and set hearings and trials expeditiously to reach a conclusion without undue expense and delay to

  the parties. A trial date some 3 1/2 years after the adversary proceeding was filed is neither speedy

  nor expeditious.

          On the issue of the alleged right to jury trial on the part of United, the trustee was the party

  who made a jury demand. Other parties have the right to rely on that jury demand under Fed. R.

  Civ. P. 38 unless there is not a right to a jury trial, or subsequent events make it clear that there are

  no jury issues to be decided. See Rachal v. Ingram Corp., 795 F.2d 1210, 1217 (5th Cir. 1986).

  It is the opinion of the Court that the claims allowance process allows the remaining live issues in

  this adversary proceeding to be determined in a bench trial.

          If the U.S. District Court disagrees, this Court is not offended, and the District Court can

  withdraw the reference or grant the interlocutory appeal. Either way, if there is a right to a jury

  trial, the jury trial must be conducted by the District Court because the parties have not consented

  to a jury trial before the bankruptcy court. It is, therefore,

          ORDERED that the Motion to Stay Trial Setting (ECF No. 376) is DENIED.

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